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        9/3                      UNITED STATES DISTRICT COURT
      THOMA.SDG    . BRUTON RT
      R K , U .S ISTRICT COU     NORTHERN DISTRICT OF ILLINOIS
  CLE
                                        EASTERN DIVISION

      UNITED STATES OF ANIERICA                       No.
                                                            1:21-CR-00614
                V.                                    ViolationsI Title 15,United States
                                                      Code,Sections 7助 ⑭)and 78氏
      KEITH WAKEFIELD                                 Title 17,Code of Federal
                                                      Regulations,Section 240.10b‐ 5
                                                                      JUDGE SEEGER
                                                                 MAGISTRATE JUDGE GILBERT
               The UNITED STATES ATTORNEY charges:

               1.    At tilnes lnaterial to this lnfOrmation:

                     a.     Defendant KEITH WAKEFIELD resided in Chicago, Illinois and

      was the head of the Fixed Income Department at the Chicago office of Company A,

      an SE C-re gistered broker-dealer.

                     b.     Company A managed funds for customers, executed trades on its

      customers'behalf, and engaged in certain proprietary trading with Company A's own

      funds.

                            Individual   A was Company A's Chief Executive          Officer and

      majority owner and, in that role, supervised WAKEFIELD and established the scope

      of trading authority for WAKEFIELD and others at Company                A.   Individual A

      expressly prohibited WAKEFIELD from engaging              in United States Treasury   bond

      trades that involved risk to Company A's funds or any other speculative securities

      trading.

                     d.     Company      A contracted with two "clearing broksls"-11a11s1y,
      Clearing Broker 1 and Clearing Broker 2-which provided back-office operations for
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 Company       A, including record      keeping, trade confirmation, and transaction

 settlement.

       2.       Beginning no later than Janu ary 2Ol7 , and continuing until in or about

August 2019, in the Northern District of Illinois, Eastern Division, and elsewhere,

                                     KEITH WAKEFIELD,

defendant herein, directly and indirectly, by the use of means and instrumentalities

of interstate commerce,   willfully used and employed, in connection with the purchase

and sale of securities, manipulative and deceptive devices and contrivances, in

violation of Title 17, Code of Federal Regulations, Section 240. 10b-b, by:             (a)

employing devices, schemes, and artifices to defraud; and @) engaging            in   acts,

practices, and courses of business which operated and would operate as a fraud and

deceit upon other persons, which scheme is further described below.

       3.      It was part of the         scheme   that WAKEFIELD knowingly           and

fraudulently engaged in unauthorized speculative trading in United States Treasury

bonds using Company       A trading accounts, and in doing so caused more than        $80

million in losses to Company A and its counterparties, and WAKEFIELD further

embezzled approximately $820,000 of Company A's funds by falsifying its books and

records to create fake commissions that he knew did not exist and were not owed.

      4.       It was further part   of the scheme that beginning no later than May 2019,

WAKEFIELD put Company A funds at risk by engaging in speculative United States

Treasury bond trades, knowing that Company A prohibited him from engaging in

such transactions.
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       5.     It was further part of the scheme that when WAKEFIELD's
unauthorized speculative United States Treasury bond trades resulted         in a loss of
Company A's funds, he engaged in additional unauthonzed United States Treasury

bond trades   in an effort to recoup those initial losses.   Those unauthorized United

States Treasury bond trades resulted in still more losses.

      6.      It was further part of the   scheme that beginning no later than May 2019,

WAKEFIELD took steps to conceal from Company A and its clearing brokers-

Clearing Broker 1 and Clearing Broker       2-the unauthorized United States Treasury
bond trades and resulting losses. For example, after executing'unauthorized United

States Treasury bond trades through Clearing Broker 1, WAKEFIELD entered fake

off-setting trades into Clearing Broker l's order management systems to create the

false impression that WAKEFIELD had profrtably traded through Clearing Broker 2

and thereby concealed that he had engaged in an unauthorize<l proprietary United

States Treasury bond trade.

      7   .   It was further part of the   scheme that beginning no later than January

2077 and continuing     until Company A's collapse in August 2019, WAKEFIELD
knowingly and falsely claimed approximately $820,000 in fictitious commissions for

securities trades on behalf      of   Company A's customers      that did not   involve

commensurate profit to Company A and therefore did not warrant the commission to

WAKEFIELD. When doing so, WAKEFIELD knowingly falsified Company A's books

and records to make   it   appear that the trades on behalf of Company A's cu3tomers

generated profits when he knew that was not the case.
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       8.    It was further part of the scheme that WAKEFIELD concealed,
misrepresented, and hid, and caused to be concealed, misrepresented, and hidden,

the existence of the scheme, the purposes of the scheme, and the acts done in

furtherance of the scheme.

       9.    On or about August 5,2019, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               KEITH WAKEFIELD,

defendant herein, for the purpose of executing the scheme to defoaud, in connection

with the purchase and sale of securities, willfully used and caused the use of a means

and instrumentality of interstate commerce, namely, WAKEFIELD used the internet

to log into a Bloomberg LP electronic platform to seIl short United States Treasury

bonds with a par value of $10,000,000 as part of a transaction   with Counterparty A;
      In violation of Title 15, United States   Code, Sections 78j(b) and 78ff(a), and

Title 17, Code of Federal Regulations, Section 240.10b-5.



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                                                Signed by Jason Yonan on behalfofthe
                                              United States Attornev




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